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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

PEN AMERICAN CENTER, INC., et al.,

        Plaintiffs,

 vs.
                                                 CASE NO.: 3:23-CV-10385-
 ESCAMBIA COUNTY SCHOOL                          TKW-ZCB
 BOARD,

        Defendant.




   PLAINTIFF ANN NOVAKOWSKI’S MOTION FOR A PROTECTIVE
               ORDER AS TO DEPOSITION OF J.N.

       Plaintiff Ann Novakowski respectfully moves for a protective order against

the Escambia County School Board to prevent the Board from forcing her seven-

year-old child to sit for a deposition. In support of her motion, Plaintiff states as

follows:

       1.     The Board seeks to depose each of the Parent Plaintiffs, as well as their

children. See, e.g., Decl. of S.G. Agarwal (“Agarwal Decl.”) ¶ 2 & Ex. 1 (6/14/24

Notice of Taking Depositions as to Ann Novakowski and J.N.).

       2.     The parties have agreed in principle to depositions of the middle- and

high school-aged children of the Parent Plaintiffs, under certain conditions,

including having parents present at the depositions, limiting the length of the
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depositions to 60-120 minutes, and narrowing the subjects of the depositions

(although the parties have not come to full agreement on which subjects should be

encompassed), and conducting them by Zoom or in person based on the preference

of the child. See Agarwal Decl. ¶ 3 & Ex. 2 (5/20/24 N. Smith email to L.

Oberlander).

      3.       The parties disagree on whether depositions of elementary school-aged

children are proper. Id.

      4.       Plaintiff Novakowski’s child, J.N., is seven years old and recently

completed first grade.

      5.       The Board seeks to depose J.N. “to explore the claims and defenses in

the case” and to ask about what books she “actually wants to read and is interested

in,” apart from what Plaintiff Novakowski thinks her daughter wants to read;

whether J.N. is interested in checking out the named books from the school library;

and whether the characterization of J.N.’s reading interests in the Complaint is

accurate. See Agarwal Decl. ¶ 4 & Ex. 3 (5/24/24 N. Smith email to O. Lev).

      6.       The Board is also seeking to depose the J.N.’s parent, Plaintiff

Novakoswski. Agarwal Decl. Ex. 1.

      7.       Plaintiff Novakowski is filing a declaration in support of this motion

regarding her child’s interest in checking out and reading particular books from her

public school library. See Decl. of A. Novakowski ( “Novakowski Decl.”).

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      8.     The Board has not articulated a meaningful distinction between the

legal and factual issues they seek to establish through the testimony of J.N. and

Plaintiff Novakowski. Nor has the Board identified a single factual or legal issue

that it believes is uniquely in J.N.’s possession and on which it cannot question

Plaintiff Novakowski, who filed this lawsuit as a legal representative for J.N.

      9.     Plaintiff Novakowski opposes the Board’s request to depose J.N. as

cumulative and unduly burdensome, given that the Board can elicit the same

information from her parent. Consequently, Plaintiff Novakowski seeks a protective

order to prevent this deposition. In the alternative, Plaintiff Novakowski requests the

Court hold this motion in abeyance until after her deposition and permit the Board

to move forward with deposition of J.N. only if the Board identifies relevant,

noncumulative issues of material fact they were unable to obtain from Plaintiff

Novakowski and which they have a good faith basis to believe they can elicit from

J.N. in deposition.

                           MEMORANDUM OF LAW

      The Board seeks to depose a seven-year-old without presenting any reason to

believe she could provide noncumulative evidence. The testimony that the Board

claims to need from her: (1) is irrelevant as a matter of law; (2) concerns claims and

facts that are either undisputed or which the Board has no good-faith basis to dispute;

and/or (3) is entirely cumulative of the testimony that will be provided by her parent.

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The Court should enter a protective order precluding the Board from deposing J.N.

under these circumstances.

A.     The Children’s Inability to Access the Books at Issue in the School
       Library Is Undisputed.

       The Board removed several books that J.N. seeks to check out from her public

school library—namely And Tango Makes Three and When Aidan Became a

Brother—and placed another—Uncle Bobby’s Wedding—on restricted access. See

Agarwal Decl. ¶ 5 & Ex. 4 (Def.’s Supp. Resp. to Pls.’ First Interrogatories, No. 4).

The Board does not contest that it has removed or restricted these books.1

Any examination about J.N.’s access to these books outside of her school library is

not relevant as a matter of law. Courts have rejected the argument that the “serious

burden” of removal of books from school libraries “is minimized by the availability

of the disputed book in sources outside the school.” Minarcini v. Strongsville City

Sch. Dist., 541 F.2d 577, 582 (6th Cir. 1976). Rather, the Supreme Court has long

recognized that “one is not to have the exercise of his liberty of expression in

appropriate places abridged on the plea that it may be exercised in some other place.”

Schneider v. Town of Irvington, 308 U.S. 147, 163 (1939); see also Minarcini, 541

F.2d at 582 (“Restraint on expression may not generally be justified by the fact that




1
 The Board has apparently recently lifted its restriction of Uncle Bobby’s Wedding
after many months.
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there may be other times, places, or circumstances available for such expression.”

(collecting cases)); Johnson v. Stuart, 702 F.2d 193, 197 (9th Cir. 1983) (same).

      Accordingly, courts have consistently held that a student’s potential access to

a book outside of school is irrelevant to that student’s standing to challenge

restrictions on access to that book within school. See, e.g., Parnell v. Sch. Bd. of

Lake Cnty., 2024 WL 2703762, at *3 (N.D. Fla. Apr. 25, 2024) (that student

otherwise had access to book removed from school libraries did not affect standing

to challenge that removal); GLBT Youth in Iowa Schs. Task Force v. Reynolds, 2023

WL 9052113, at *19 (S.D. Iowa Dec. 29, 2023) (that books removed from school

libraries were available in bookstores and public libraries was irrelevant to existence

of First Amendment injury), appeal filed, 24-1075, 24-1082 (8th Cir. 2024); Counts

v. Cedarville Sch. Dist., 295 F. Supp. 2d 996, 1000 (W.D. Ark. 2003) (that students

had access to book at home was irrelevant to their right to challenge its restriction in

their school library). Indeed, courts have held that the First Amendment is violated

even when a book removed from library shelves remains available behind the library

counter or in electronic form. Little v. Llano Cnty., 103 F.4th 1140, 1155-56 (5th

Cir. 2024) (affirming that plaintiffs had shown a valid First Amendment injury

where they would be “unable to anonymously peruse books in the library without

asking a librarian for access”). Accordingly, to the extent that the Board seeks to

examine J.N. regarding her ability to access these books outside of the school library

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(a topic they have raised in the student depositions that have taken place so far in

this case), that is not a basis to depose her.

B.     The Board Has Not Raised a Material Dispute as to Any Matter on
       Which They Seek J.N.’s Testimony

       The Board has stated in meet-and-confer discussions that it wants to depose

all of the children on issues relating to standing, including their desire and ability to

check out the books at issue from their school library. But there is no dispute that

these books are unavailable to J.N. in her school library and have been unavailable

since last spring.

       Further, Plaintiff Novakowski is filing a declaration attesting to J.N.’s interest

in checking out and reading the books at issue from her school library. See

Novakowski Decl. The Board has not presented any argument or evidence that

Plaintiff Novakowski has been untruthful about J.N.’s desire to check out the books

at issue and her inability to do so. Nor does the Board have any plausible basis for

contesting Plaintiff Novakowski’s credibility.

C.     Deposing J.N. Is Cumulative and Unduly Burdensome Because Her
       Parent Will Be Deposed

       The Board is seeking to depose Plaintiff Novakowski about the same topics—

namely J.N.’s interest in checking out and reading the books at issue from the school

library. This would make the J.N.’s testimony cumulative. See Fed. R. Evid. 403.

The Board has articulated no distinction between the testimony it seeks from

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J.N.compared to Plaintiff Novakowski, other than that it wants to make sure Plaintiff

Novakowski is not misrepresenting J.N.’s interest in the books. To the extent that

the Board seeks an affirmation from J.N. separately from the interrogatory

responses, declarations, and testimony of Plaintiff Novakowski, Plaintiffs have

offered to provide a declaration from J.N. In this context, requiring a seven-year-old

to sit for deposition is unduly burdensome.

      It is unnecessary to require J.N. to undergo a deposition when her mother, who

is bringing this action on J.N.’s behalf, is available to testify and when the Board

seeks the same testimony from her. See Blackwood v. de Vries, 2015 WL 13914949,

at *4 (C.D. Cal. Sept. 25, 2015) (granting protective order prohibiting depositions of

child plaintiffs where relevant testimony could be acquired through depositions of

the children’s parents); Carbajal v. Serra, 2012 WL 2215677, at *2 (D. Colo. June

15, 2012) (“[T]he Court is not inclined to compel the appearance of minor witnesses

in federal court unless there is no reasonable alternative.”). Indeed, Plaintiff

Novakowskibrings this action on behalf of her minor child because J.N. could not

file the lawsuit herself. In that context, it does not make sense that J.N. needs to be

separately deposed. Because the Board has not articulated a meaningful distinction

between the deposition testimony it intends to elicit from the Plaintiff Novakowski

and her child, nor any basis to believe that the Plaintiff Novakowski will be unable



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to provide sufficient testimony regarding each of their inquiries, deposing both J.N.

and her mother is cumulative.

      Because her testimony would be cumulative, deposing J.N. would accomplish

little more than imposing an undue burden. It would require young J.N. to devote

time away from family and friends to prepare for her testimony and to face

questioning by opposing counsel in deposition—an experience that is enormously

difficult and stressful for adults, let alone a seven-year-old. See Jones v. Sunbelt

Rentals, Inc., 2023 WL 10691302 (N.D. Cal. 2023) (“[I]t is generally acknowledged

that sitting for a deposition can be stressful and can be unduly burdensome for a

minor . . .”). J.N. can provide nothing more than cumulative testimony or testimony

that is neither legally nor factually relevant to the issues in dispute here.

      The Board will have the opportunity to depose Plaintiff Novakowsk, who has

brought this action on her child’s behalf and will be able to provide fulsome

testimony. However, if, during her depositions, Plaintiff Novakowski is unable or

unwilling to provide responsive testimony regarding relevant, noncumulative issues

of material fact, the Board may seek leave of the Court to examine J.N. regarding

those issues. Accordingly, if the Court is not inclined to grant the instant motion,

Plaintiff Novakowski requests, in the alternative, that this Court hold this motion in

abeyance until after her deposition, and permit the Board to renew any request to

depose J.N. only if it can identify relevant, noncumulative issues of material fact that

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it was unable to obtain from the Plaintiff Novakowski’s deposition and which the

Board has a good faith basis to believe it can elicit from a seven-year-old. Unless

and until the Board can make such a showing, Plaintiff Novakowski respectfully

requests that the Court enter a protective order preventing the deposition of J.N.

D.     In the Alternative, Any Deposition of J.N. Should Be Significantly
       Limited in Scope and Time.

       In the event this Court allows deposition of J.N. to move forward, because of

her young age and the availability of her mother to testify, the Court should

significantly limit the scope of her deposition to: (1) whether J.N. has tried to check

out the books at issue from the school library and/or would like to do so, and (2)

verifying the accuracy of any representations about J.N. made in the Amended

Complaint or Plaintiffs’ discovery responses. Given the narrow focus, the Court

should also restrict the time of this deposition to no more than 30 minutes, in addition

to the baseline conditions of allowing a parent to be present and conducting the

deposition virtually or in person based on the J.N.’s preference.

                                   CONCLUSION

       For the foregoing reasons, Plaintiff Novakowski respectfully requests that the

Court enter a protective order precluding the deposition of J.N., or in the alternative,

allowing it only if the Board identifies relevant, noncumulative issues of material

fact that it could not obtain from the Plaintiff Novakowski’s deposition. Should the


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Court allow J.N.’s deposition to move forward, Plaintiff Novakowski seeks, in the

alternative, to restrict the scope and length as described above.

                                          ***

                         RULE 7.1(B) CERTIFICATION

      Undersigned counsel certifies that they have conferred telephonically on May

10, 2024 and by email for two weeks afterward with counsel for Defendant who

objects to the relief requested herein.

                             RULE 7.1(F) CERTIFICATION

      Undersigned counsel hereby certify that this Memorandum contains 2,118

words, excluding those portions that do not count toward the word limit.



                                          Respectfully submitted,


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